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 6
                           UNITED STATES DISTRICT COURT
 7                   WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 8   NORTHWEST LABORERS-EMPLOYERS                      NO.
     HEALTH & SECURITY TRUST, WESTERN
 9   WASHINGTON LABORERS-EMPLOYERS                     COMPLAINT FOR BREACH OF
     PENSION TRUST, NORTHWEST                          COLLECTIVE BARGAINING
10   LABORERS-EMPLOYERS TRAINING                       AGREEMENT
     TRUST, and WASHINGTON AND
11   NORTHERN IDAHO DISTRICT COUNCIL
     OF LABORERS
12
                                  Plaintiffs
13         v.

14   PENHALL COMPANY

15                                Defendant

16        COME NOW PLAINTIFFS, and for their cause of action, allege as follows:

17        1. Plaintiffs Northwest Laborers-Employers Health & Security Trust, Western

18   Washington Laborers-Employers Pension Trust, and Northwest Laborers-Employers Training

19   Trust (Trusts) are joint labor-management employee benefit trusts created pursuant to §

20   302(c)(5) of the Labor-Management Relations Act (the Act), 29 U.S.C. § 186(c)(5) and bring

21   this action in accordance with §§ 502(d)(1), 502(a)(3) and 515 of the Employee Retirement

22   Income Security Act of 1974 (ERISA), 29 U.S.C. § 1001, et seq.



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     COLLECTIVE BARGAINING AGREEMENT—1
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 1         2. Plaintiff Washington and Northern Idaho District Council of Laborers and its affiliated

 2   Union locals (Union) is a labor organization that has its principal office located at 12101

 3   Tukwila International Blvd., Ste. 300, Seattle, Washington.

 4         3. Defendant Penhall Company (Employer) is engaged in business within the jurisdiction

 5   of this Court, and such business affects commerce within the meaning of § 301(a) of the Act, 29

 6   U.S.C. § 185(a).

 7         4. Jurisdiction is conferred on this Court by § 301(a) of the Act, 29 U.S.C. § 185(a) and

 8   §§ 502(a)(3) and 502(e)(2) of ERISA, 29 U.S.C. § 1132(a)(3) and § 1132(e)(2).

 9         5. At all times material the Employer and the Union and its affiliated Locals were parties

10   to a collective bargaining agreement (Labor Agreement) and Trust Agreements, excerpted

11   material parts of which are set forth as Exhibits A and B, respectively, to this Complaint.

12   Plaintiff Trusts are third-party beneficiaries to the Labor Agreements.

13         6. The terms of the Trust Agreements, and ERISA, 29 U.S.C. §§ 1027 and 1059, grant the

14   Trusts the authority to review the payroll records of the Employer to verify the accuracy of the

15   Employer’s reporting of bargaining unit hours worked by the Employer’s employees, and to

16   verify the corresponding required fringe benefit payments to the Trusts.

17         7. Pursuant to the authority granted in the Trust Agreements, Plaintiffs requested that the

18   Employer submit to an examination of its payroll records to determine if the Employer has

19   correctly reported hours and paid fringe benefit contributions, dues, and other wage deductions

20   on behalf of its laborer-classification employees. The Employer did not respond to requests from

21   Plaintiffs’ Accountant (Anastasi, Moore & Martin, PLLC) for payroll audit (see June 10, 2019

22   letter from Accountant, attached as Exhibit C), or to two subsequent letters from Plaintiffs’

     attorney.

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 1         8. The Employer has failed to abide by the terms and conditions set forth in the Trust

 2   Agreements by refusing to produce the requested payroll records to the Trusts. Plaintiffs believe

 3   the Employer has failed to abide by the terms and conditions set forth in the Labor Agreements

 4   and the Trust Agreements and is delinquent in the payment of fringe benefit contributions, dues,

 5   and other wage deductions in unknown amounts from July 2013 through current, which are due

 6   and payable under the terms of the Labor Agreements and the Trust Agreements. The

 7   Employer’s failure to pay is also a violation of § 515 of ERISA, 29 U.S.C. § 1145.

 8         9. The Employer’s failure to produce its payroll records for inspection and to pay fringe

 9   benefit contributions, dues, and other wage deductions which continue after the filing of this

10   Complaint violates the Labor Agreements and the Trust Agreements. The Employer’s failure to

11   pay is also a violation of § 515 of ERISA, 29 U.S.C. § 1145.

12         10. The full extent of the Employer’s delinquency in the payment of its required fringe

13   benefit contributions, dues and other wage deductions to the date of this Complaint is unknown

14   at this time and will be determined by an examination of the Employer’s payroll records, which

15   examination is authorized by the Trust Agreements, ERISA, 29 U.S.C. §§ 1027 and 1059, and

16   controlling Federal court decisions.

17         11. The continuing failure of the Employer to produce its payroll records for review, to pay

18   contributions, dues, and other wage deductions, and to file monthly contribution report forms

19   makes the full extent of the Employer’s delinquency uncertain and it will be determined at the

20   time of trial.

21         12. Under the terms of the Labor Agreements and Trust Agreements to which the

22   Employer is bound, the Employer is also obligated to pay all liquidated damages in the amount



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 1   of 15 percent (15%) of the delinquent contributions owing and interest computed at the rate of 15

 2   percent (15%) per annum on all contributions owing, as well as costs and expenses incurred,

 3   including reasonable attorney fees.

 4         13. If judgment is entered by default, a reasonable attorney’s fee as of the date of this

 5   Complaint is $2,000.00.

 6         WHEREFORE, Plaintiffs pray for the following relief:

 7          (a)      Judgment against Defendant Penhall Company representing contributions, dues,
                     and other wage deductions, liquidated damages, and interest in an amount to be
 8                   determined at the time of trial;

 9          (b)      All costs and attorney fees incurred; and

10          (c)      Such other relief as the Court deems just and equitable.

11          DATED August 7, 2019

12

13                                                 s/ Mary L. Stoll
                                                   Mary L. Stoll, WSBA No. 16446
14                                                 Attorney for Plaintiff Trusts and Union
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